     Case 2:20-cv-00625-CMR Document 1 Filed 09/04/20 PageID.1 Page 1 of 5



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                                       *        *
                                       *       *
                                        ****



                                      Paul-Kenneth: Cromar.
            the secured party of the name "PAUL KENNETH CROMAR",
                                  e/o 9870 N. Mcadow Drivc
                           Cedar Hills, Utah-State: uSA [84062]                                   FILED US Dis"l'riet Co1Jrt ·"l.lT
                                                                                                   SEP 04 '20 PM04: 15


             UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF UTAH
                   CENTRAL DIVISION
Paul-Kenneth: Cromar,
        Plaintiff,                                                 2·20-cv-00625
                                                             Gas~·- ·     . Romero, cecilia M.
                                                             Ass1gned 1o ..     2020
v.                                                           Assig~. l?ªt~c· !~ar v powell
                                                              oescnpt,on.
Kraig J. Powell,
       Defendant.
                                                                   Civil Claim



                                           Civil Complaint

1.     Comes now, Paul-Kenneth: Cromar, sui juris, a living breathing man upon the land man in
the Original Jurisdiction, stating the following claims against the Defendant, Kraig J. Powell, the
living breathing man, who at times acts as a "judge" in Utah Fourth District Court in Provo:



                                            INTRODUCTION
2.     NOTICE. The term "Original Jurisdiction" herein, and as in ali other documents issued by Paul-
Kenneth: Cromar, always means the constitution for the united States of America, anno Domini 1787,
and articles of amendment alino Domini 1791.

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       Case 2:20-cv-00625-CMR Document 1 Filed 09/04/20 PageID.2 Page 2 of 5




3.      The fraud and felony described hereafter occurred within the federal jurisdiction of this the
federal UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH CENTRAL
DIVISION, as a literal attempted theft of the Plaintiff's Life, Liberty and Property, specifically
the Plaintiff's home at the 9870 N. Meadow Drive, near the Cedar Hills ofUtah state, contrary to
lawful powers and rights protected by the Constitution, in or around the Utah state's FOURTH
JUDICIAL DISTRlCT COURT, UTAH COUNTY, STATE OF UTAH in Provo and the
Plaintiff' s home in Cedar Hills, Utah.


4.      Great HARM and compromise of Plaintiff's Life, Liberty and Property and Pursuit of
Happiness has been endangered through legal threats and terroristic actions that have been
perpetrated by a long string of government employees since January 2018. Mr. Kraig J. Powell's
recent actions are the most recent and most dangerous and have been done despite by his own
ADMISSION described herein while acting under the color of law.                            The United States
Department of Justice has published a "Deprivation Of Rights Under Color Of Law" declaration,
which defines deprivation of rights and penalties, which applies to Him, and includes the
following:


                  "Section 242 of Title 18 makes it a crime for a person acting under color of any
                  law to willfully deprive a person of a right or privilege protected by the
                  Constitution or laws of the United States


                  " ... The offense is punishable by a range of imprisonment up to a life term, or
                  the death penalty, depending upon the circumstances of the crime, and the
                  resulting injury, if any."


                  (emphasis added. See EXHIBIT A also available at the United States Department
                  of Justice website at ... b!!P_~_:L/www.justicc.gov/crt/depriyªtiDn:Iight~~-llJ!9:_r;J-color-
                  law)


5. -     Often, the, "Persons acting under color of law within the meaning of this statute [Title 18
Section 242] include police officers, prisons guards and other law enforcement officials, as well

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     Case 2:20-cv-00625-CMR Document 1 Filed 09/04/20 PageID.3 Page 3 of 5




as JUDGES, care providers in public health facilities, and others who are acting as public
officials. . .. ," (emphasis added - See again Exhibit A) , attempt to hide behind a false and
unlawful declaration of "federal immunity".         However, two Supreme Court findings prove that
those acting outside of the law under which they exercise authority over We the People, strips the
offending official naked before the law and exposes such people to the full force of law and
related penalties. "Immunity" for government officials is a false and deceitful legal claim, as
highlighted in these two Supreme Court findings:


       "Under the Clearfield Doctrine, derived from the 1943 Supreme Court Decision in
       Clearfield Trust, et al. vs. United States, (328 U.S. 363, 318), the court ruled, in essence,
       that when a government reduces itself to a corporate status, it becomes merely
       another corporation, having no more nor less standing than ali other corporations."
       (see Exhibit B, page 13, item 13.)


       "The UNITED STATES Supreme court in 2000 ruled, Bond vs. UNITED STATES 529
       US 334-2000, held that the people are in fact Sovereign and not the STATES or
       government. The court went on to define that local, STATE and FEDERAL law
       enforcement officers are committing unlawful actions against the Sovereign people
       by the enforcement of laws and are personally liable for their actions." (see Exhibit B,
       page 13, item 14.)


6.     While the heinous crimes of fraud and swindle in dishonor described hereafter are worthy
of prosecution by the US Attorney and the execution of an arrest of the living man, Mr. Kraig J.
Powell by US MARSHALS, this Civil Claim is not for damages and penalties outlined in the
PUBLIC NOTICE, DECLARATIONS, MANDATES, AND LAWFUL PROTEST (hereafter
"PUBLIC NOTICE" - see Exhibit B) describes, whose penalties and amounts are ever accruing
daily and by the minute as detailed herein.


                  UNREBUTTED FACTS SURROUNDING THIS CLAIM:

7.     An unlawful attempt to facilitate and formalize a fraudulent Complaint filed by a MR.
NATHAN S. DORIUS (BAR #8977) who could not or would not in open court prove or provide
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      Case 2:20-cv-00625-CMR Document 1 Filed 09/04/20 PageID.4 Page 4 of 5




he had a lawful "subscribed oath on the record as required by Utah law to act the lawful capacity
as an attorney.   The COPPER BIRCH PROPERTIES LLC filing was done fraudulently, and
was identified as such on the record, requiring "immediate dismissal" of the case. His silence
was MR. DORIUS' agreement as he offered NO REPL Y on the record of the court. Ignoring
that requirement of the court, Mr. Kraig J. Powell, acting in his capacity as a "judge", continued
under the color of law, which concluded with his ruling to "RESTORE" the Cromar home to
COPPER BIRCH who had NEVER lawfully making "restoration" factually impossible.


8.     This is a civil CLAIM timely brought by Paul-Kenneth: Cromar., against the living
breathing man, Kraig J. Powell, to unlawful action he has agreed he has committed outside of
lawful authority, exposing him to the CIVIL CLAIM herein.


9.     On Friday, August 21, 2020, at exactly 1:16 pm, Mr. Kraig J. Powell was provide his first
of two Services of PUBLIC NOTICE (see Exhibit B); the first hand-delivered at his place of
employ at FOURTH JUDICIAL DISTRICT COURT, UTAH COUNTY, STATE OF UTAH at
13 7 N orth Freedom Blvd in Provo of the Utah state, through the office of the clerk for personal
delivery to Mr. Powell. His second Service the PUBLIC NOTICE was provided via USPS
Certified Return Receipt #7019 2280 0000 3189 5205, which Mr. Powell received on August 26,
2020 at 10:58 am.         NO timely response, as allowed therein, was received by Plaintiff
establishing Mr. Powell's AGREEMENT to the contents therein.


10.    On Friday, August 29, 2020, Mr. Kraig J. Powell was sent a NOTICE OF
ACCEPTANCE OF AGREEMENT, AND INTENT TO COLLECT (see Exhibit C) provided via
USPS Certified Return Receipt #7019 2280 0000 3189 527 4 received on August 31, 2020 at
11 :06 am. Again, NO timely response as allowed therein was received by Plaintiff, establishing
Mr. Powell's AGREEMENT to the contents therein.


11.    The attached Exhibit D provides PROOF OF SERVICE of Exhibits B and C via USPS
Certified Return Receipt documentation establishing the foundation of this lawful CIVIL
CLAIM.


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      Case 2:20-cv-00625-CMR Document 1 Filed 09/04/20 PageID.5 Page 5 of 5




12.     The lawful remedies to this CIVIL CLAIM are provided in great detail in the PUBLIC
NOTICE, with one additional one demand of one silver dollar in lawful money as described in
the Constitution for each and every minute from the EXACT minute of this court' s SUMMONS
is Serviced to Mr. Kraig J. Powell until such time as this CIVIL CLAIM is resolved and paid in
FULL.




                      FOR THE AFFIDAVIT IS OF THE TRUTH:


              FOR THE Secured Parties ARE FOR THE AFFIRMATION OF
                                 THE DECLARATION OF THE


                 TRUTH BY THE FIRSTHAND KNOWLEDGE OF THE FACTS:



        Utah County                      )
                                         )                Asseveration
        Utah Republic                    )
        united States of America         )

                                                          As beneficiary to the Original Jurisdiction.




                                                  Date: September 4, 2020




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